









Dismissed and Memorandum Opinion filed January 12, 2006









Dismissed and Memorandum Opinion filed January 12,
2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-01119-CV

____________

&nbsp;

HENRY P. MASSEY, SOLE BENEFICIARY
OF

THE ESTATE OF COURTNEY S. MASSEY, Appellant

&nbsp;

V.

&nbsp;

ANN MASSEY, ADMINISTRATRIX OF

THE ESTATE OF COURTNEY S. MASSEY, Appellee

&nbsp;



&nbsp;

On Appeal from Probate Court No. 3

Harris County, Texas

Trial Court Cause No.
262,580-405

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N








The notice of appeal in this cause was filed on October 31,
2005.&nbsp; To date, our records show that
appellant has neither established indigence nor&nbsp;
paid the $125.00 appellate filing fee.&nbsp;
See Tex. R. App. P. 5
(requiring
payment of fees in civil cases unless indigent);Tex. R. App.
P. 20.1 (listing requirements for establishing indigence); see also Order Regarding Fees Charged in Civil Cases in the Supreme Court
and the Courts of Appeals, Misc. Docket No. 98-9120 (Tex. Jul. 21, 1998)
(listing fees in court of appeals); Tex.
Gov=t Code Ann. ' 51.207 (Vernon 2005) (same). 

After being given the requisite ten-days= notice that this
appeal was subject to dismissal, appellant did not respond.&nbsp;
See Tex. R. App. P.
42.3.&nbsp; Accordingly, the appeal is ordered
dismissed.&nbsp; See Tex. R. App. P. 42.3(c) (allowing
involuntary dismissal of case because
appellant has failed to comply with notice from clerk requiring response or
other action within specified time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 12, 2006.

Panel consists of Justices Fowler,
Edelman, and Guzman.

&nbsp;





